16 F.3d 408NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Anthony X. ANDERSON, Plaintiff Appellant,v.M. SARKER, Dr.;  Douglas Black, LPN, Nurse;  L. Wood, LPN,Nurse, Defendants Appellees.
    No. 93-6882.
    United States Court of Appeals, Fourth Circuit.
    Jan. 11, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., Senior District Judge.
      Anthony X. Anderson, Appellant Pro Se.
      David Charles Bowen, Willcox &amp; Savage, Norfolk, VA, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is with
    
    